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                        UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                          Criminal No. 09-300 (1) (JRT/SRN)

                                     Plaintiff,

 v.                                                               ORDER

 BENJAMIN MICHAEL SAXTON,

                          Defendant.
 _______________________________________________________________________


       Jeffrey Bryan, Assistant United States Attorney, OFFICE OF THE UNITED
       STATES ATTORNEY, 300 South Fourth Street, Suite 600, Minneapolis, MN
       55415, for plaintiff.

       Robert Christensen, ROBERT M. CHRISTENSEN, PLC, 247 Third Avenue
       South, Minneapolis, MN 55415, for defendant.


       This matter is before the Court on the Defendant’s motion to seal document.

Based on all the records, files, and proceedings in this case, the Court finds that good

cause exists to allow the request.

       Accordingly, IT IS HEREBY ORDERED that the Defendant’s motion to seal

document [Docket No. 139] is GRANTED.


DATED: January 28, 2010
at Minneapolis, Minnesota                               ___ s/ John R. Tunheim____
                                                           JOHN R. TUNHEIM
                                                         United States District Judge
